                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA )
                         )
                         )
v.                       )                   No. 6:95-cr-00284-CCE-1
                         )                   MOTION FOR COMPASSIONATE RELEASE
                         )
MATTHEW DAVIS,           )
Defendant                )



The defendant, Matthew Davis, by his counsel, moves this Court pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i), as amended by the First Step Act, Pub. L. 115-391 § 603(b), 132 Stat. 5194,

5239 (eff. Dec. 21, 2018) for a reduction of the sentence imposed on November 25, 1997 and

subsequently modified most recently on March 10, 2016, for extraordinary and compelling

reasons, including his advanced age and deteriorating health. In support of this motion, Mr.

Davis states the following:


   1. Mr. Davis has been incarcerated for twenty-four (24) years for non-violent drug offenses.

       He is a model prisoner with a virtually spotless disciplinary record who, at almost age 70,

       is now suffering the ravages of age and decades of incarceration. Despite the support of

       the Warden of FCI Butner, Donna M. Smith, in each of Mr. Davis’s requests for

       compassionate release to date, the Bureau of Prisons (“BOP”) continues to deny his

       request for compassionate release, relying on several inappropriate factors. The

       amendments to §3582(c) by the First Step Act remedy this barrier to relief and allow the

       Court to consider whether further incarceration under these circumstances is warranted.

   2. On January 22, 1996, Mr. Davis pled guilty to: 1) possession with intent to distribute

       heroin; 2) possession with intent to distribute cocaine base (crack) within 1000 feet of a


                                                1



       Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 1 of 88
   public school; and 3) carrying a firearm during a drug trafficking crime. Plea Agreement,

   Jan. 22, 1996, ECF No. 70. At the time he pled guilty, Mr. Davis, a veteran who served

   honorably and was discharged from service for medical retirement, was struggling with

   an addiction to heroin precipitated in part by an addiction to opioids stemming from a

   pain medication that he had been prescribed for an injury sustained at work.

3. On November 25, 1997, Mr. Davis was sentenced to two 420-month terms to be served

   concurrently as well as a mandatory consecutive term of five years for the firearm charge,

   for a total of 480 months. J., Nov. 25, 1997, ECF No. 130.

4. On November 26, 2012, Mr. Davis, through his attorney, filed a motion for reduction in

   sentence pursuant to 18 U.S.C. § 3582(c)(2), specifically, the retroactive “crack

   amendment,” because the relevant sentencing range had been lowered by the United

   States Sentencing Commission. Def.’s Mot. to Vacate, Sept. 28, 1999, ECF No. 225. On

   January 27, 2014, Judge James A. Beaty for the United States District Court, Middle

   District of North Carolina granted Mr. Davis’s motion and ordered the previously

   imposed sentence of imprisonment to be reduced to 360 months on Counts 1 and 4, to run

   concurrently, with the additional 60-month consecutive sentence for Count 5, for a new

   total of 420 months. Order, Jan. 27, 2014, ECF No. 237.

5. On November 24, 2014, Mr. Davis filed another motion for reduction in sentence

   pursuant to 18 U.S.C. § 3582(c)(2), again based on the retroactive crack amendment.

   Def.’s Mot. to Reduce Sentence, Nov. 24, 2014, ECF No. 258. On March 10, 2016, this

   Court granted Mr. Davis’s motion and reduced the previous sentence to 288 months on

   Counts 1 and 4 to run concurrently, with the additional 60-month consecutive sentence

   for Count 5, for a new total of 348 months. Order, Mar. 10, 2016, ECF No. 261.



                                            2



   Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 2 of 88
    6. Mr. Davis has been in continuous custody since his arrest on December 1, 1995. He is

         presently incarcerated at Federal Correctional Institution Butner Low (“FCI Butner”), a

         low security federal prison that is part of the Federal Correctional Complex, Butner,

         located in Butner, North Carolina. As of the date of this filing, he will have served 24

         years for his non-violent drug offenses.

    7. Mr. Davis has formally requested compassionate release from the BOP three times, and

         he has been denied compassionate release on each occasion despite the warden’s

         continuous support for release. Most recently, on August 21, 2018, Mr. Davis’s request

         for compassionate release was denied despite the fact that the warden had recommended

         that he be considered for a reduction in sentence based on his age. See Ex. A, 2017

         Smith Memo. The letter denying the motion expressly noted that Mr. Davis “meets

         the eligibility criteria of Section 4(c).”1 See Ex. B, 2018 Denial. (emphasis added).

         The reasons given for denial were: 1) that release would minimize the severity of his

         offense; 2) that he has a lengthy criminal history; and 3) that he has already received two

         reductions in sentence, as described above. The first two reasons are not appropriate for

         consideration by the BOP, but in any event, as discussed more fully below, consideration

         of those factors by the Court will support compassionate release in Mr. Davis’s case. The




1
  “Section 4(c)” refers to 18 U.S.C. § 4205(g), Section 4, the predecessor to 18 U.S.C. § 3582(c)(1)(A), which now
governs procedures for compassionate release. 28 CFR § 572.40. The relevant criteria that Mr. Davis must meet in
order to be granted compassionate release are: 1) a reduction in sentence is warranted by “extraordinary and
compelling reasons;” 2) such reduction “is consistent with applicable policy statements issued by the Sentencing
Commission;” and 3) consideration of the factors established in section 3553(a), to the extent they are applicable,
weigh in favor of such a reduction. 18 U.S.C. § 3582(c)(1)(A)(i). There are several categories of “extraordinary
and compelling reasons” contemplated by the statute. Mr. Davis qualifies for compassionate release under the
elderly prisoner category, because he meets the following criteria: “[t]he defendant (i) is at least 65 years old; (ii) is
experiencing a serious deterioration in physical or mental health because of the aging process; and (iii) has served at
least 10 years or 75 percent of his or her term of imprisonment, whichever is less.” U.S.S.G. § 1B1.13, note 1(B).

                                                            3



         Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 3 of 88
         third reason is not contemplated by the statute and has nothing to do with the issues

         before the Court. See 18 U.S.C. § 3582(c).

    8.   Ultimately, the BOP’s prior denials of Mr. Davis’s motions for compassionate release

         need not constrain this Court, as the First Step Act “was enacted to further increase the

         use of compassionate release” and “explicitly allows courts to grant such motions even

         when BOP finds they are not appropriate.” Beck, No. 1:13-CR-186-6, at *12 (M.D.N.C.

         June 28, 2019). The First Step Act provides that an inmate may file such a motion “after

         the defendant has fully exhausted all administrative rights to appeal a failure of the [BOP]

         to bring a motion on the defendant’s behalf.” 18 U.S.C. § 3582(c). All administrative

         remedies have been exhausted in Mr. Davis’s case.2

    9. 18 U.S.C. § 3582(c) directs this Court to grant a motion for compassionate release if the

         Court finds that: 1) a reduction in sentence is warranted by “extraordinary and

         compelling reasons;” 2) such reduction “is consistent with applicable policy statements

         issued by the Sentencing Commission;” and 3) consideration of the factors established in

         section 3553(a), to the extent they are applicable, weigh in favor of such a reduction. 18

         U.S.C. § 3582(c)(1)(A)(i). Mr. Davis meets all these criteria.

    10. Congress directed the Sentencing Commission to “describe what should be considered

         extraordinary and compelling reasons for sentence reduction, including the criteria to be

         applied and a list of specific examples.” 28 U.S.C. § 994(t). Consequently, the

         Sentencing Commission promulgated a policy statement contained in U.S.S.G. § 1B1.13

         that provides guidance on the “extraordinary and compelling reasons” that warrant a



2
 A denial of an inmate’s request for consideration for compassionate release by the BOP “constitutes a final
administrative decision” that cannot be appealed. 28 CFR § 571.63(b), (d). As noted, the BOP has already denied
Mr. Davis’s requests for compassionate release three times.

                                                        4



         Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 4 of 88
   sentence reduction. Courts “have universally turned to [] § 1B1.13” and its

   accompanying Application Notes when considering compassionate release motions.

   United States v. McGraw, No. 202-00018, 2019 WL 2059488, at *2 (S.D. Ind. May 9,

   2019).

11. Under 18 U.S.C. § 3582(c), this Court must therefore first determine whether there are

   extraordinary and compelling reasons justifying the modification of Mr. Davis’s sentence

   in accordance with the Sentencing Commission’s policy statement as stated in U.S.S.G. §

   1B1.13. Then, the Court must consider whether the factors in 18 U.S.C. § 3553 weigh in

   favor of a modification of the sentence. This Court should find that Mr. Davis meets the

   criteria for “extraordinary and compelling reasons” warranting release and that the § 3553

   factors similarly weigh in favor of his release. 24 years in prison is more than sufficient

   to establish the considerations set forth in §3553.

12. Extraordinary and Compelling Reasons.

       a. U.S.S.G. § 1B1.13 provides that “extraordinary and compelling reasons”

            warranting a reduction in sentence exist where certain factors are established,

            such as the medical condition of the defendant, the age of the defendant, family

            circumstances, or other extraordinary and compelling reasons that may exist. Mr.

            Davis’s circumstances meet the definition of extraordinary and compelling

            reasons under the Sentencing Commission’s provision describing a defendant’s

            age, U.S.S.G. § 1B1.13, note 1(B), and also under the “catchall” provision in the

            Sentencing Commission’s Application Notes in its policy statement, U.S.S.G. §

            1B1.13, note 1(D).




                                             5



   Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 5 of 88
   b. Mr. Davis’s advanced age and deteriorating health constitute extraordinary and

      compelling reasons warranting a reduction in sentence, consistent with the

      Sentencing Commission’s policy statement and 18 U.S.C. § 3582(c)(1)(A)(i).

      The Application Notes to § 1B1.13 provide that extraordinary and compelling

      reasons exist where “[t]he defendant (i) is at least 65 years old; (ii) is experiencing

      a serious deterioration in physical or mental health because of the aging process;

      and (iii) has served at least 10 years or 75 percent of his or her term of

      imprisonment, whichever is less.” U.S.S.G. § 1B1.13, note 1(B).

   c. Mr. Davis is currently 69 years old and will be 70 years old on April 25, 2020.

      He has already served 24 years in federal prison, more than double the policy

      statement’s required 10 years served and also significantly more than 75% of

      his prison sentence. Under the actuarial tables in Section 8-46 of the General

      Statutes of North Carolina, Mr. Davis has a life expectancy of 12.04 more years.

      However, his various medical issues and his 24 years in prison have lessened his

      true life expectancy.

   d. Mr. Davis has a host of serious medical conditions, documented by his BOP

      medical records, which are worsening with age. Taken together, these conditions

      require constant management, will worsen as he ages, and continuously cause Mr.

      Davis severe pain and discomfort. These conditions include:

           i. Hypertrophic cardiomyopathy with surgical implantation of an automatic

              cardioverter-defibrillator (“defibrillator”) to reduce the risk of sudden

              cardiac death,

          ii. Gastrointestinal issues that result in chronic pain and incontinence,



                                        6



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 6 of 88
         iii. Benign localized hyperplasia of prostate causing pain and difficulty

             urinating,

         iv. Hypertension,

          v. Anxiety disorder and depression,

         vi. Pre-diabetes,

        vii. Podiatric pain,

        viii. Temporomandibular joint disorder and other serious and painful dental

             ailments that have resulted in the loss of many teeth, and

         ix. Allergic rhinitis. See Ex. C, January 2019 Medical Records.

   e. Mr. Davis was diagnosed with hypertrophic cardiomyopathy, a genetic cardiac

      condition, at a fairly young age. This condition led to Mr. Davis’s medical

      retirement from the military in June of 1973, after two-and-a-half years of

      honorable military service. Symptoms of this illness include heart palpitations

      and syncope (loss of consciousness). See Ex. D, Cardiology Medical Records.

      Because Mr. Davis’s symptoms were worsening with age and he was at risk of

      sudden cardiac death, he had an automated implantable cardioverter defibrillator

      surgically implanted in 2016. The severity of the condition continues to worsen

      due to Mr. Davis’s advanced age. Among the various risks related to the

      implanted defibrillator is the risk that he could receive a shock during the night,

      be knocked out of bed, and suffer a serious injury. He currently has a lower bunk

      pass in the institution to mitigate this risk. But the risk of syncope or a

      defibrillating shock is ever-present. The device requires regular monitoring.




                                         7



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 7 of 88
   f. Mr. Davis also suffers from prostatitis and hyperplasia of the prostate, which

      cause more frequent and painful urination. See Ex. E, List of Health Problems.

      The need to urinate more frequently is particularly problematic in the prison

      environment, where inmates are unable to move about the prison freely and are

      often required to stand in place during prison counts and at other times. These

      conditions will only worsen with age.

   g. Mr. Davis’s gastrointestinal illness causes him persistent epigastric pain and

      incontinence, which has necessitated the use of adult diapers. See Ex. F,

      Gastrointestinal Medical Records. Activity of any kind exacerbates the

      symptoms, and rest is one of the few relieving factors. The regimented

      environment of prison makes coping with this illness especially difficult to

      manage. Mr. Davis recently had an endoscopy at the prison in an effort to

      determine the cause of persistent stomach pain and discomfort. He currently

      suffers from an uncomfortable pressure in his stomach, and the medical staff at

      the prison have been unable to determine the cause of these issues as of the date

      of this filing.

   h. In recent years, Mr. Davis has developed pre-diabetes. See Ex. E, List of Health

      Problems. This disease causes elevated blood sugars, which increases the risk of

      cardiovascular complications. This condition is likely to worsen with age and

      requires proper diet and exercise to manage. In the prison environment,

      maintaining a proper diet and exercise habits can be difficult or impossible.

   i. Mr. Davis has been diagnosed with anxiety disorder and depression, requiring

      medication. See. Ex. G, Anxiety Disorder Medical Records. These disorders



                                        8



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 8 of 88
      became more acute following the recent passing of his ex-wife and mother of his

      sons, father, and most recently, his younger brother – all in the past three years.

      See Ex. H, Depression Medical Records. These disorders would also be more

      effectively treated outside of prison, and access to family and emotional support

      would surely help Mr. Davis to cope with these recent losses as well.

   j. Mr. Davis suffers from myriad dental problems, including chronic periodontitis, 8

      pulled teeth, and the insertion of crowns. These issues cause severe and recurring

      pain, particularly as Mr. Davis has received grossly inadequate dental care in the

      prison facility. He has no bottom teeth on the left side of his mouth, and the

      prison has been unable to provide a partial denture that fits properly. Because he

      has no teeth on the bottom left side of his mouth, and the partial denture does not

      fit, he must chew all food with the right side of his mouth. See Ex. I, Dental

      Medical Records. This has caused chronic pain in his right ear. Mr. Davis has

      also had a number of issues with the crowns and fillings that have been inserted

      during his time in prison, some of which have become infected and/or have

      caused him additional pain and have ultimately resulted in the loss of his teeth.

   k. Likewise, Mr. Davis has had chronic podiatric ailments. He has made multiple

      trips to doctors related to severe foot pain, which will only worsen with age. He

      requires special shoes and inserts to manage the pain.

   l. Indeed, a physician at Butner, Dr. Michael Nwude, examined Mr. Davis in 2017

      in connection with one of Mr. Davis’s prior requests to the BOP for

      compassionate release. Dr. Nwude concluded that Mr. Davis met the following

      criteria:



                                        9



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 9 of 88
           i. Aged 65 or older;

          ii. Suffers from chronic or serious medical conditions related to the aging

              process;

         iii. Experiences deteriorating mental or physical health that substantially

              diminishes his ability to function in a correctional facility; and

         iv. Conventional treatment promises no substantial improvement to his

              mental or physical condition. See Ex. J, 2017 Dr. Nwude Report.

   m. More than two years ago, Dr. Nwude affirmed that: “Medical staff determined

      that [Matthew Davis] DOES have one or more of the above conditions and

      his condition(s) are permanent, progressive, and deteriorating. This inmate’s

      condition(s) have substantially diminished his ability to function in a

      correctional facility.” See id. (emphasis added).

   n. Dr. Nwude further explained: “[Mr. Davis’s] Hypertrophic Cardiomyopathy is

      permanent and even though it is stable at the present time it is expected to

      deteriorate over time with diminution in his ability to function in a correctional

      facility. In addition, conventional treatment promises no substantial improvement

      to this physical condition.” See id.

   o. Thus, a medical professional at Butner has already evaluated Mr. Davis and has

      determined that he meets the required criteria for compassionate release from the

      medical perspective. Mr. Davis’s age and deteriorating health warrant a reduction

      in sentence in accordance with the Sentencing Commission’s policy statement.

   p. In addition to Mr. Davis’s serious medical issues, the sheer length of Mr. Davis’s

      sentence for the crimes to which he pled guilty – possession of drugs and carrying



                                        10



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 10 of 88
                a firearm – is a separate extraordinary and compelling reason warranting a

                sentence reduction under the catchall provision of the application notes to §

                1B1.13, note 1(D).3 Mr. Davis has served 24 years in prison, over a third of his

                life, for these non-violent crimes. The length of his prison sentence, particularly

                given the non-violent nature of his offense, is truly extraordinary. It is high time

                that he is released.

    13. 3553(a) Factors.

            a. This Court must engage in an independent analysis of whether a sentence

                reduction is warranted here, not only by determining whether there are urgent and

                compelling reasons warranting reduction but also by weighing the factors listed in

                18 U.S.C. § 3553(a), as required by 18 U.S.C. § 3582(c)(1)(A).

            b. An analysis of the § 3553(a) factors further demonstrates that a reduction of Mr.

                Davis’s sentence is warranted. Section 3553(a) provides that this Court shall

                consider the following factors, among others: 1) the nature and circumstances of

                the offense and the history and characteristics of the defendant; 2) the need to

                provide restitution to victims of the offense; 3) the need for the sentence to reflect

                the seriousness of the offense; 4) the need for the sentence to afford deterrence; 5)

                the need for the sentence to protect the public from further crimes; and 6) the need

                to provide the defendant with needed medical care in the most effective manner.

                18 U.S.C. § 3553(a).




3
 “[E]xtraordinary and compelling reasons exist . . . [if] there exists in the defendant’s case an
extraordinary and compelling reason other than, or in combination with, the reasons described in
subdivisions (A) through (C).”

                                                    11



       Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 11 of 88
   c. First, Mr. Davis’s history and characteristics weigh in favor of a reduction in

      sentence. Prior to incarceration, Mr. Davis was the devoted son of a preacher, and

      the oldest of twelve siblings. He is also a veteran who served honorably at Fort

      Bragg and other locations in the United States before he was forced to retire for

      medical reasons. Prior to retiring, Mr. Davis had ambitions of being a career

      military officer and serving overseas in the Vietnam War. He has several

      children, several of whom have had children of their own. Since he has been

      incarcerated, Mr. Davis has lost both of his parents, his ex-wife, and most

      recently, his brother. Mr. Davis wants nothing more than to spend the remaining

      time that he has with his six grandchildren, all of whom were born while he has

      been in prison.

   d. At the time of his arrest, Mr. Davis struggled with drug addiction arising from a

      prescription for opioids for an injury sustained while he was on the job as a

      builder. He entered guilty pleas for non-violent drug-related offenses and

      possession of a firearm.

   e. Mr. Davis has used his time in prison to improve himself. While in prison, Mr.

      Davis obtained his GED and has devoted himself to religious studies. He earned

      a degree from the Amherst Theological Seminary to be an Associate of Bible,

      consistent with his goal of working in his father’s church after his release. See

      Ex. K, Theology Certificate. He developed a strong relationship with the former

      chaplain at FCI Butner, who encouraged Mr. Davis to preach at the prison. The

      chaplain previously emphatically supported Mr. Davis’s requests for passionate

      release, explaining that he contributed greatly to the prison community: “[Mr.



                                       12



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 12 of 88
      Davis’s] greatest contribution was as a mentor to fellow Christian inmates with

      less maturity…Mr. Davis was known for his quiet demeanor and religious

      sincerity, and I believe that following his long incarceration he will value freedom

      greatly and make any effort needed to avoid its loss.” See Ex. L, 2015 Letter

      from Chaplain. Mr. Davis consistently worked throughout his incarceration as a

      Chapel clerk, a library clerk, and at many other jobs in the prison. Today, Mr.

      Davis spends his time in prison writing. He is currently in the process of writing

      a musical chronicling his life, the mistakes that he made, and the role that faith

      has played in his becoming a changed man. Matthew Davis is not the same man

      today as he was nearly a quarter century ago when he was originally sentenced.

   f. After 24 years in prison, Mr. Davis has only two extremely minor and non-

      aggressive disciplinary citations, one for keeping an “unsanitary and untidy” cell

      in 2014 and one from 2002 for being “in an unauthorized area and interfer[ing]

      with the taking of count.” See Ex. M, Disciplinary Records. He has never been

      sent to solitary confinement and has not lost a single day of “good time.” Mr.

      Davis has some prior convictions for offenses committed when he was much

      younger, including two assaults (neither of which required him to serve time in

      prison), a bank robbery (for which he was only required to serve two-and-a-half

      years of a fifteen year sentence and for which he successfully completed his

      parole supervision), and other petty offenses. These offenses all occurred a

      decade or more before Mr. Davis was charged with the crimes for which he is

      currently incarcerated.




                                       13



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 13 of 88
   g. Mr. Davis has already served 24 years in prison for non-violent drug offenses; this

      substantial amount of time served surely reflects the seriousness of the crimes for

      which he pled guilty. Such a lengthy sentence affords more than adequate

      deterrence for any future potential criminal conduct.

   h. According to a study conducted by the Sentencing Commission, Mr. Davis’s age

      of 69 also puts him in the category of those least likely to recidivate. Offenders

      who are released after the age of 65 are statistically significantly less likely to re-

      offend, according to the study. USSC, The Effects of Aging on Recidivism

      Among Federal Offenders (Dec. 2017), available at

      https://www.ussc.gov/sites/default/files/pdf/research-andpublications/research-

      publications/2017/20171207_Recidivism-Age.pdf.

   i. Upon release, Mr. Davis intends to reside with his brother, Daniel Davis, who

      lives in Winston-Salem, North Carolina and has already prepared a room in his

      home for Mr. Davis. Daniel is employed by the city in maintaining the city’s

      police car fleet. Mr. Davis also intends to spend time with his three children and

      six grandchildren, including his son Matt, who lives nearby in Summerfield,

      North Carolina. Matt is interested in real estate and construction and has the

      financial resources to dedicate to these ventures. He hopes to work with Mr.

      Davis on such ventures once Mr. Davis is released and looks forward to the day

      when his two children can spend time with their grandfather outside the prison

      walls.

   j. Mr. Davis’s support system at home, renewed dedication to faith, and physical

      deterioration due to health and age further reduce the likelihood that he will



                                        14



Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 14 of 88
               engage in criminal activity upon release. These considerations sufficiently

               address the need to protect the public from further crimes. See 18 U.S.C. §

               3553(a)(2)(C).

           k. Mr. Davis’s need for improved medical care, which could be secured if he were to

               be released from prison, also weighs in favor of release. See id. § 3553 (a)(2)(D).


WHEREFORE, pursuant to the First Step Act of December 21, 2018, the defendant Matthew

Davis, by his counsel, respectfully prays the Court:


   1. For compassionate release from BOP custody, a reduction of his sentence to the current

       time served, and elimination of his lengthy term of supervised release to live at his

       brother’s home.

   2. For such other and further relief as the Court may deem just and equitable.


                                                             Respectfully submitted,


                                                             /s/ James B. Craven III
                                                             James B. Craven III
                                                             P.O. Box 1366
                                                             Durham, NC 27702
                                                             (919) 688-8295
                                                             jbc64@mindspring.com
                                                             NCSB 997

                                                             /s/ Christina J. Ferma
                                                             Christina J. Ferma
                                                             Jamie Gardner
                                                             Jay Tymkovich
                                                             Paul Hastings LLP
                                                             875 15th St NW
                                                             Washington, DC 20005
                                                             (202) 551-1872
                                                             christinaferma@paulhastings.com
                                                             VSB 89156



                                                15



      Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 15 of 88
                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA )
                         )
                         )
v.                       )                   No. 6:95-cr-00284-CCE-1
                         )                   MOTION FOR COMPASSIONATE RELEASE
                         )
MATTHEW DAVIS,           )
Defendant                )

                                CERTIFICATE OF SERVICE


I hereby certify that on December 18, 2019, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system and have verified that such filing was sent electronically

using the CM/ECF system to the following Government counsel:


Angela Hewlett Miller
Office of the U.S. Attorney
101 South Edgeworth Street, Fourth Floor
Greensboro, NC 27401
Angela.miller@usdoj.gov

This 18th of December 2019.



                                                             /s/ James B. Craven III
                                                             James B. Craven III




      Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 16 of 88
                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA )
                         )
                         )
v.                       )                 No. 6:95-cr-00284-CCE-1
                         )
                         )
MATTHEW DAVIS,           )
Defendant                )

                      ORDER FOR COMPASSIONATE RELEASE

        Upon consideration of the Motion for Compassionate Release of Matthew Davis, and the
response of the United States, for good cause shown and pursuant to the First Step Act of
December 21, 2018, and 18 U.S.C. §3582, the Motion is GRANTED, and it is hereby
ORDERED that the sentence imposed is modified to time served, and that Matthew Davis shall
be released from BOP custody immediately to live at the home of his brother, Daniel Davis, in
Winston-Salem.

       IT IS SO ORDERED.

       Signed this ____ day of December 2019.


                                                  ____________________________________
                                                  Catherine C. Eagles
                                                  United States District Judge




      Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 17 of 88
                      Exhibit A




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 18 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 19 of 88
                       Exhibit B




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 20 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 21 of 88
                      Exhibit C




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 22 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 23 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 24 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 25 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 26 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 27 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 28 of 88
                      Exhibit D




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 29 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 30 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 31 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 32 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 33 of 88
                       Exhibit E




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 34 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 35 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 36 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 37 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 38 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 39 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 40 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 41 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 42 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 43 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 44 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 45 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 46 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 47 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 48 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 49 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 50 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 51 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 52 of 88
                       Exhibit F




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 53 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 54 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 55 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 56 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 57 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 58 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 59 of 88
                      Exhibit G




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 60 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 61 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 62 of 88
                      Exhibit H




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 63 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 64 of 88
                       Exhibit I




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 65 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 66 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 67 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 68 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 69 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 70 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 71 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 72 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 73 of 88
                       Exhibit J




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 74 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 75 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 76 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 77 of 88
                      Exhibit K




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 78 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 79 of 88
                       Exhibit L




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 80 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 81 of 88
                      Exhibit M




Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 82 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 83 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 84 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 85 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 86 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 87 of 88
Case 6:95-cr-00284-CCE Document 269-1 Filed 12/18/19 Page 88 of 88
